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                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                          )
                                                   )
                              Plaintiff,           )       CRIMINAL ACTION
                                                   )
v.                                                 )       No.    07-10221-09-MLB
                                                   )
ISAAC WOODS,                                       )
                                                   )
                              Defendant.           )
                                                   )

                                    MEMORANDUM AND ORDER
         This case comes before the court on defendant’s motion to
suppress.       (Doc. 81).           The motion is fully briefed and the court
conducted an evidentiary hearing on April 16, 2008.                         (Docs. 81, 98).
The motion to suppress is denied for the reasons herein.
I.    FACTS
         This case arises from a traffic stop that occurred on June 25,
2007, around 6 p.m. in Wichita, Kansas.                       Earlier in the afternoon,
Detective Ron Goodwin, a member of the Wichita Police Gang Task Force,
was surveilling a house at 1821 S. Ridgewood owned by Tyrone Andrews,
a co-defendant in this case.                  The department was utilizing both a
surveillance         team     and     a   confidential        informant      (CI)      to   gain
information about Andrews.                Andrews had been under surveillance since
February       2007.        The   surveilling       officers      observed     that     Andrews
appeared at the house only in the afternoons and early evenings.
Otherwise, the house seemed to be unoccupied.                           After leaving the
house, Andrews would make quick stops at other locations in Wichita
where he would remain only for a few minutes.                      Goodwin testified that
based     on   his     experience,        this     behavior      indicates     that     a   drug
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transaction is being conducted at each stop.               Goodwin’s opinion in
this regard has not been challenged.
         In May 2007, the CI informed Goodwin that Andrews bought and
sold cocaine by the kilogram.      On June 4, 2007, the agents searched
the trash container at the house on Ridgewood.                    The container
contained an empty box. The box, which originally held sandwich bags,
an item that is commonly used for packaging drugs, tested positive for
the presence of cocaine.         On June 23, 2007, two days prior to
defendant’s stop, the CI made a controlled buy of two ounces of
cocaine from Andrews.
         At 4:00 p.m. on June 25, Goodwin set up surveillance at the
Ridgewood address.     Andrews arrived and a short time later, a small
Nissan arrived and stayed less than five minutes. The Nissan had also
been observed at another location that was under surveillance in
connection with the investigation.          The Nissan left, followed by
Andrews, who drove to an apartment complex.
         Detective Miller, who was surveilling the complex, saw Andrews
leave.    Miller informed Goodwin that Andrews was carrying a black bag
which appeared to be very light and was blowing in the wind.                Andrews
was accompanied by Kevin Gunter, who was carrying a white bag.                 The
surveillance team followed Gunter to a location on Glendale Street,
where he approached defendant, who was standing next to a maroon
Intrepid.    Gunter handed defendant a white package.           Defendant placed
the package in the back seat of the Intrepid.               The contact between
defendant and Gunter only lasted seconds.
         The surveillance team then followed defendant, who drove to the
area of Douglas and Oliver.     A member of the team called dispatch and

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requested a marked unit to assist in stopping defendant.                             Wichita
Police Officer Michael Cox responded to the call with his partner,
Officer Cole.           Cox observed the Intrepid and pulled in behind it.
Defendant then entered the parking lot at Lincoln Heights Shopping
Center.       Cox observed that defendant failed to turn on his signal 100
feet prior to the turn. Cox did not follow defendant into the parking
lot and was instructed by a member of the surveillance team to leave
the area.
            Once in the parking lot, defendant stopped his car and got out.
He walked up to a shoe store, stood at the door, looked back in the
direction of the now absent marked police vehicle, and returned to his
car without attempting to enter the shoe store, which was still open
for business.         Defendant then entered his car and left the shopping
area. A member of the surveillance team again requested Cox to resume
following defendant.           When Cox observed the Intrepid, it made a right
turn from a private drive and entered the center lane, instead of
turning into the curb lane.              Cox erroneously believed that defendant
violated a traffic regulation and activated his emergency lights. Cox
later       learned     from   a    fellow   officer    that   the    traffic       maneuver
defendant        made    was       correct   because    the    curb     lane    ended    in
approximately fifteen to twenty feet.1
            Cox made contact with defendant and told him why he was stopped.
Cox requested insurance information and defendant produced it.                          Cox

        1
       Cox testified that because he later learned that defendant had
not committed a traffic violation when he turned into the center lane,
the issued citation should have been for defendant’s failure to signal
at least 100 feet prior to turning into the shopping center. The
court carefully observed Cox and finds that Cox’s error was innocently
made.

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returned to his patrol car to check for “wants and warrants” and,
after       determining    that    defendant     did    not    have    any   outstanding
warrants, Cox wrote a violation for making an improper turn. When Cox
delivered the ticket to defendant, he observed that the windows were
down on the driver’s side.             Cox testified that he smelled a strong
odor of air freshener and marijuana.2 The entire duration of the stop
lasted approximately five to ten minutes.                 Defendant started his car
and began to drive off.            Cox turned around and asked defendant if he
could ask him some more questions.                Defendant stated “what.”           Cox
asked defendant if there was anything illegal in the car.                      Defendant
replied “no.” Defendant then again attempted to drive away. Cox told
him to stop and get out.             Defendant did so and did not close the
driver side door behind him.3             Defendant was asked if the officers
could search his vehicle and defendant said no.
            Wichita Police Officer Jesse Handcock, a member of the canine
unit, was at the scene during the stop.                 After defendant got out of
his car, Handcock deployed his dog.                    Handcock follows a standard
procedure.         He     always    has   the    dog    go    around   the    car   twice
counterclockwise and then once clockwise.                The dog is not on a leash.
During the first pass, the dog sniffs the lower part of the car.                     The

        2
       Cox, however, did not list that information in his report.
While this omission may suggest that Cox could benefit from some
additional training regarding report writing, the court does not find
that Cox was being untruthful, especially in view of defendant’s
admission that he had smoked marijuana in the car.
        3
       In his memorandum and through cross-examination of officers at
the hearing, defendant suggested that he closed the door when he got
out of the car and that an officer later opened it. The court accepts
the officers’ testimony that defendant left the driver’s door open
when he got out. Stated another way, there is no credible evidence
that officers opened the door so that the dog could enter the car.

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second pass is concentrated on the middle part of the car and the
third pass is targeted on the upper part of the car.                 On the first
pass, the dog “alerted” to the trunk.4              Basically, the dog broke
command by stopping and reversing to again smell the corner of the
trunk.     The dog, however, did not “indicate” that there was a scent
of drugs.     The dog did not alert or indicate on the second pass.               On
the third pass, the dog alerted at the passenger side window. The dog
stuck his head in the window and then went around the car and entered
it on the driver’s side through the open door.               The dog indicated at
the center console by scratching at the console.                  Handcock asked
defendant if there were any drugs in the console.                  Defendant said
there were no drugs but he had smoked marijuana in the car earlier.
          Handcock entered the car and immediately smelled marijuana.
After searching the center console, Handcock found marijuana residue.
Handcock then removed the keys from the ignition and the trunk was
opened with the keys.       Inside the trunk, the officers discovered two
white packages that were inside a white bag.           The two packages tested
positive for crack.        Once the trunk was opened, Handcock redeployed
his dog.      The dog indicated at the trunk by scratching.                  Officers
arrested defendant for possession of the cocaine.
II.   ANALYSIS
          Defendant asserts that the stop and subsequent search of his car
wer unconstitutional and asks that all evidence seized in that search


      4
       Handcock explained that an “alert” occurs when the dog breaks
command, i.e. stops and reverses to sniff an area again.           An
“indication” occurs when the dog either scratches, barks or bites at
an area. Handcock testified that, in his opinion, an indication would
give probable cause to search the vehicle but an alert would not.

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be suppressed.
         The Fourth Amendment protects “[t]he right of the people to be
secure    in   their   persons,    houses,   papers,     and    effects,      against
unreasonable searches and seizures.”            U.S. Const. amend. IV.           The
Supreme Court has liberally interpreted “seizures” to encompass
routine traffic stops, “even though the purpose of the stop is limited
and the resulting detention quite brief.” See Delaware v. Prouse, 440
U.S. 648, 653 (1979).         “Because an ordinary traffic stop is more
analogous to an investigative detention than a custodial arrest,” the
stops are analyzed under the principles articulated in Terry v. Ohio.
United States v. King, No. 05-6399 (10th Cir. Dec. 18, 2006).                     The
two-pronged standard espoused in Terry v. Ohio, 392 U.S. 1 (1968),
thus applies, see United States v. Caro, 248 F.3d 1240, 1244 (10th
Cir. 2001), and renders a traffic stop reasonable if “the officer’s
action was justified at its inception, and [if] it was reasonably
related in scope to the circumstances which justified the interference
in the first place.”       Terry, 392 U.S. at 20.       An initial traffic stop
is justified at its inception if it was “based on an observed traffic
violation,” or if “the officer has a reasonable articulable suspicion
that a traffic . . . violation has occurred.”                   United States v.
Hunnicutt, 135 F.3d 1345, 1348 (10th Cir. 1998).
         The court finds that Cox was justified in stopping defendant’s
car in the first instance.        The court accepts Cox’s testimony that he
believed defendant committed a traffic violation when he observed
defendant turn into the center lane and failing to turn into the lane
closest to the curb and when Cox observed defendant failing to signal
in advance of his turn into the shopping center.                  See K.S.A. § 8-

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1545(a)(1) (stating that the “driver of a vehicle intending to turn
[right] shall do so . . . as practicable to the right-hand curb or
edge of the roadway.”); § 8-1548(b) (describing appropriate signaling
methods). Even though Cox later was informed that defendant’s failure
to turn into the right lane was not a violation because the lane ended
in approximately twenty feet, Cox believed at the time of the stop
that defendant had in fact committed a traffic violation.             The court
finds that Cox’ belief was reasonable at the time of the stop.
       Even when the initial stop is valid, any investigative detention
must not last “longer than is necessary to effectuate the purpose of
the stop.”    Florida v. Royer, 460 U.S. 491, 500 (1983).            An officer
“conducting a routine traffic stop may request a driver’s license and
vehicle registration, run a computer check, and issue a citation.”
United States v. Bradford, 423 F.3d 1149, 1156 (10th Cir. 2005).              The
uncontroverted testimony shows that Cox approached defendant’s car
upon initially stopping him and then obtained defendant’s driving
documents.    Cox returned to his patrol car to run a search for
outstanding wants or warrants, which was appropriate.                     Cox re-
approached defendant’s car and returned defendant’s papers and issued
a citation.   Therefore, the scope of the traffic stop was reasonably
related in scope to the circumstances which initially justified the
interference.   Terry, 392 U.S. at 20.
       After the purpose of the traffic stop is complete, however,
“further detention for purposes of questioning unrelated to the
initial stop” is generally impermissible. Bradford, 423 F.3d at 1156-
57.   In general, “lengthening the detention for further questioning
beyond that related to the initial stop is permissible in two

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circumstances.       First,    the    officer      may   detain      the    driver    for
questioning unrelated to the initial stop if he has an objectively
reasonable and articulable suspicion illegal activity has occurred or
is occurring.     Second, further questioning unrelated to the initial
stop is permissible if the initial detention has become a consensual
encounter.”     Hunnicutt, 135 F.3d at 1349.
          In this case, Cox’s further questioning of defendant was not
consensual. Defendant was attempting to drive away when Cox asked him
if he could ask more questions.         Defendant did not agree but instead
replied by saying “what?”            The testimony failed to indicate the
context of that statement.           A response of “what” could imply that
defendant did not hear Cox’s question and responded with “what” as in
“what did you say?”     Moreover, after responding that no illegal items
were in the car, defendant again attempted to drive away.                        At this
point, Cox asked defendant to stop and get out of the car.                       Based on
the evidence, defendant desired to leave the stop and did not agree
to further questioning or a search of his vehicle.                         A reasonable
person in defendant’s position would not have felt free to leave.
Therefore, defendant’s conduct cannot be considered consensual.                       Id.
at 1310.     Thus, the validity of the search and subsequent seizure of
the cocaine turns on the existence of a reasonable and articulable
suspicion of illegal activity.
          In determining whether reasonable suspicion exists, the court
again looks to the “totality of the circumstances” to determine if Cox
had   a    “particularized    and    objective     basis    for     suspecting     legal
wrongdoing.”      United States v. Arvizu, 534 U.S. 266, 273 (2002).
Reasonable     suspicion     may    exist   even    if     each    factor     alone    is

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“susceptible of innocent explanation.”               Id. at 277 (stating that “[a]
determination that reasonable suspicion exists . . . need not rule out
the possibility of innocent conduct”).               A determination of reasonable
suspicion to detain after a traffic stop should be based on the
totality of the circumstances.             United States v. Salzano, 158 F.3d
1107, 1111 (10th Cir. 1998).
           In   making   the   determination,        each    factor    is    not    to    be
considered in isolation because even though one factor alone may be
innocently explained, the factors considered together can support
reasonable suspicion. United States v. Lopez, 518 F.3d 790, 797 (10th
Cir. 2008). The court must “be careful to judge the officer's conduct
in light of common sense and ordinary human experience but also to
grant deference to a trained law enforcement officer's ability to
distinguish between innocent and suspicious circumstances.”                         Id.
           Here, there were other indications prior to the stop that would
support a finding of reasonable suspicion that defendant had received
a package containing contraband.5 Andrews, an alleged cocaine dealer
who deals in large quantities, left his home after a short visit by
a   car     that   was    seen     at   another     suspected      drug     house    under

       5
       While Officer Cox did not observe all of the actions prior to
the stop and did not have the knowledge of the information from the
trash pull and the CI, the court must also “look to the knowledge of
all the police involved in this criminal investigation, since probable
cause can rest upon the collective knowledge of the police, rather
than solely on that of the officer who actually makes the arrest” when
making a determination of reasonable suspicion.      United States v.
Cervine, 347 F.3d 865, 871 (10th Cir. 2003)(citing United States v.
Merritt, 695 F.2d 1263, 1268 (10th Cir. 1982), cert. denied, 461 U.S.
916, 103 S. Ct. 1898, 77 L. Ed.2d 286 (1983); see also United States
v. Swingler, 758 F.2d 477 (10th Cir. 1985) (finding probable cause for
automobile searches and the arrest of their occupants based on
knowledge possessed by FBI agents, not the arresting state officers,
that the defendants were transporting amphetamines)).

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surveillance.    Andrews then met an individual in an apartment complex
and left with an empty bag.       That individual, Gunter, had a white bag
and drove to a location where defendant was standing outside his car.
In mere seconds, Gunter handed off a white bag to defendant and
defendant placed the bag in his back seat and drove away.               When later
approached from behind by a marked unit defendant quickly pulled into
a parking lot and walked up to a store where he did not enter but
instead looked back in the vicinity of the now absent marked unit.
Defendant then left the parking lot.
       Goodwin testified that Andrews’ actions in leaving with an that
Gunter had the cocaine, which he then gave to defendant. Goodwin also
opined that the transaction between Gunter and defendant was a typical
drug transaction in which the drugs were quickly exchanged.                      His
opinions in this regard were not challenged.                 The court finds that
based on the surveillance, the trash pull and the CI’s interactions
with Andrews, Goodwin had more than enough information to believe that
Andrews was dealing in large quantities of cocaine.                      While the
evidence offered by the government was not overwhelming (e.g. no one
saw defendant place the white bag in the trunk of the Intrepid), the
court is reminded that “the level of suspicion required for reasonable
suspicion is ‘considerably less’ than proof by a preponderance of the
evidence or that required for probable cause.”               Id. at 799.
       Because   the   officers    had    reasonable     suspicion     to     believe
defendant was engaged in wrongdoing and that the vehicle contained
narcotics, the investigative detention did not violate the Fourth
Amendment.    Once the officers had reasonable suspicion to justify
prolonging the stop for additional questioning, a drug dog sniff was

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permissible.     United States v. Villa-Chaparro, 115 F.3d 797, 802-03
(10th Cir. 1997).      Moreover, a dog sniff performed during a traffic
stop does not violate the Fourth Amendment, as long as the detention
is not unreasonably prolonged.         Illinois v. Caballes, 543 U.S. 405
(2005).    Here, it was not.      It was not necessary to wait for officer
Handcock and his dog; they were on the scene.
       Defendant asserts that the drugs found during the stop should
be suppressed because the dog only alerted when it climbed into the
car.   As a fallback position to the suggestion that the officers
opened the door after defendant shut it, defendant argues that the
door was left open because of the officers’ conduct in forcing him to
get out of the car.        Defendant cites to two cases in which drug dogs
did not indicate the presence of drugs until they were inside a
vehicle, United States v. Stone, 866 F.2d 359 (10th Cir. 1989) and
United States v. Winningham, 140 F.3d 1328 (10th Cir. 1998).
       In Stone, the Tenth Circuit determined that the defendant’s
rights were not violated when a drug dog jumped into the open
hatchback door because the dog’s actions were instinctive.                       The
defendant was asked to show officers a citation that he had received
earlier in the day.        The defendant opened his hatch to retrieve the
citation   and   the   drug    dog   jumped    into    the     back   without   being
instructed to by its trainer.        The Tenth Circuit determined that the
resulting discovery of the drugs did not violate the defendant’s
Fourth Amendment rights because the dog was not instructed to enter
the back and did so instinctively.               Stone, 866 F.2d at 364.           In
Winningham, the Tenth Circuit determined that the defendant’s rights
were violated.     The officers in Winningham opened the door of the

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defendant’s vehicle and waited for the drug dog to arrive.                  The
handler then released the dog as they neared the open door. The court
determined that the officers in Winningham facilitated the dog’s entry
to the van.    140 F.3d at 1331.
         This case more closely resembles the officers’ actions in
Stone.    While Cox asked defendant to get out of the car, there is no
evidence that Cox prevented defendant from closing the door behind
him. The only credible evidence is that defendant opened the door and
did not shut it.      Handcock testified that the dog alerted to the
passenger window and then went around the front of the car and leapt
in the driver’s side open door. Handcock had released he dog from the
leash upon arriving at defendant’s car, consistent with his standard
procedure.    There was no evidence that Handcock instructed the dog to
go inside.    Actually, Handcock testified that he did not want his dog
going inside a vehicle because he was concerned for the safety of the
dog. The court finds that the dog’s actions in jumping in the vehicle
were instinctive and that defendant’s Fourth Amendment rights were not
violated.    Stone, 866 F.2d at 364.
         Defendant also asserts that the officers should not have
extended the search to the trunk of the car because the dog did not
“indicate” that he smelled narcotics in the trunk.            An indication6 by
the drug dog to the passenger compartment of a vehicle gives rise to


     6
       The Tenth Circuit consistently uses the term “alert” when
referring to drug dog searches.      Handcock’s testimony about the
definition of “alert” is not consistent with the Tenth Circuit’s
definition. It appears that Handcock’s definition of an “indication”
is equivalent to the Tenth Circuit’s definition of an “alert.” See
United States v. Stewart, 473 F.3d 1265, 1270 (2007)(the dog “alerted
on the Tahoe's rear driver's side by aggressively scratching at it.”)

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probable cause to search the vehicle’s trunk.                          United States v.
Rosborough, 366 F.3d 1145, 1153 (10th Cir. 2004).                          Moreover, “an
officer obtains probable cause to search the trunk of a vehicle once
he     smells    marijuana      in    the    passenger       compartment       and   finds
corroborating evidence of contraband.”                  United States v. Parker, 72
F.3d 1444, 1450 (10th Cir. 1995).                Handcock credibly testified that
he smelled marijuana in defendant’s car upon entry and that he
discovered      marijuana     residue       in   the   center       console.     Defendant
volunteered that he had smoked marijuana in the car earlier in the day
and he has not sought to suppress that admission.                           Based on the
indication given by the drug dog inside the car and Handcock’s
discovery inside the car, the officers had probable cause to search
the trunk.
          Defendant’s motion to suppress is accordingly DENIED.                      (Doc.
81).


          IT IS SO ORDERED.
          Dated this     28th        day of April 2008, at Wichita, Kansas.


                                                 s/ Monti Belot
                                                 Monti L. Belot
                                                 UNITED STATES DISTRICT JUDGE




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